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                                                                                  FILED
                                                                               U S DISTRICT COURT
                                                                           EASTERN DISTRICT ARKANSAS


                            IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS JAMES~-.A.V'-''t>';.
                                                                       By:~~~~....at.~~FRI<
BARBARA GOFF,
Executrix ofthe Estate ofHubert W. Pollard                                            PLAINTIFF

vs.
UNITED STATES OF AMERICA,
Department of Veteran's Affairs
Eugene J. Towbin VA Hospital                                                        DEFENDANT

                            COMPLAINT FOR WRONGFUL DEATH

        The Plaintiff, Barbara Goff, acting in her capacity as Executrix of the Estate of Hubert W.

Pollard, brings this action alleging negligence resulting in the wrongful death of Hubert W.

Pollard by employees of the United States of America and in support of her claim states:

        1.      The Plaintiff, Barbara Goff, is the duly appointed Executrix of the Estate of
                                                          This case assigned to   Distri~dge · ·
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        2.      The Plaintiff is a resident of Vilonia,

before this Honorable Court.

        3.      The decedent, Hubert Wayne Pollard, was a Veteran ofthe United States military,

and was a resident of Faulkner County, Arkansas at the time of his death on September 2, 2010.

        4.      The Defendant is the The United States of America, based upon the actions of its

employees with Department of Veterans' Affairs at the Eugene J. Towbin VA Hospital.

        5.      At all times relevant all personnel of the Eugene J. Towbin VA Hospital were

acting within the scope of their duties as employees of the United States Government.

        6.      Jurisdiction and venue are properly before this Court pursuant to the Federal Tort

Claims Act. 28 U.S.C. § 2671 et. Seq., and 28 U.S.C. § 1391(b)(2), 1331, 1346(b).
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                              FACTS COMMON TO ALL COUNTS

        7.      Hubert W. Pollard was at the Eugene J. Towbin VA Hospital located in North

Little Rock, Arkansas being treated for a urinary tract infection.

        8.      While at the VA hospital Mr. Pollard was moved from a private room to a

community room by the staff of the hospital presumably so that he could be watched twenty-four

hours a day, seven days a week until his condition improved.

        9.      The community room was an area that allowed for the nursing station to have

constant visual contact with the patients.

        10.     While in this community room area Mr. Pollard was able to crawl to the end of

his bed and fall onto his head in the floor.

        11.     This action of moving Mr. Pollard to an area of the hospital wherein the

Defendant employees could more easily monitor Mr. Pollard establish that the Defendant

employees were concerned for the safety and wellbeing of Mr. Pollard and heightened their duty

to protect him from an injury such as the one that did in fact occur.

        12.     Mr. Pollard's hospital bed had padded mats on the floor to each side of the bed,

but no mats were present where Mr. Pollard fell out of the bed at the foot of the bed.

        13.     Mr. Pollard was able to pull himself to the end of the bed, despite being moved to

an area of the hospital that was designed to allow for the staff to have constant visual contact of

Mr. Pollard at all times, and fall to the floor.

        14.     The facility itself, Eugene J. Towbin VA Hospital, is a Defendant controlled

facility and it failed to have an adequate number of staff present to meet the standard of care.
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Defendant failed to properly train or monitor the employees so that they could meet the standard

of care.

           15.     All employees, including, but not limited to nurses, nurses assistants, and doctors,

at the Eugene J. Towbin VA hospital are employees of the United States and are acting within

the scope of their employment by purporting to monitor and care for patients of the Eugene J.

Towbin VA Hospital. The employees of the Eugene J. Towbin VA Hospital, who are in fact

employees of the Defendant, failed to properly monitor and diligently care for Hubert W. Pollard

which allowed him to fall from his bed onto his head.

           16.     This fall caused Mr. Pollard to suffer a subarachnoid hemorrhage that ultimately

led to his death on September 2, 2010. See Certificate of Death attached hereto as Exhibit "A"

and incorporated by reference herein.

           17.     A subarachnoid hemorrhage is injury related and common in the elderly who have

fallen and hit their head, like Mr. Pollard did while the Defendant employees were tasked with

watching him at the Eugene J. Towbin VA Hospital.

           18.     Upon information and belief the Defendant did not have adequate staff present at

the VA Hospital which reduced the Defendant employee's ability to meet the applicable and

necessary standard of care to prevent such injuries from happening to patients.

           19.     Regardless of whether an adequate number of staff was present at the facility the

Defendant was negligent in its care of Hubert W. Pollard which allowed him to fall from his

hospital bed.

       20.         The negligent and wrongful conduct of the Defendant was below the necessary

standard of care and proximately caused the death of Hubert W. Pollard.
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        21.     The Estate of Hubert W. Pollard should be awarded damages based upon the

negligent and wrongful conduct of the Defendant, by and through its agents.

        22.     Mr. Pollard suffered greatly in the eight (8) days between the fall on August 25,

2010 and his death on September 2, 2010.

        23.     In his final days Mr. Pollard was forced to wear a diaper which he had never had

to do before, and was not able to feed himself.

        24.     The Defendant's negligent and wrongful conduct that was below the necessary

standard of care caused Mr. Pollard to sustain severe mental and physical pain and discomfort in

the days prior to his death.

        25.     The Estate of Hubert W. Pollard should be awarded damages for his conscious

pain and suffering prior to his death due to the negligence of the Defendant.

        26.     Defendant facility, The Eugene J. Towbin VA Hospital, had a duty to protect Mr.

Pollard from this fall, they breached the duty by allowing it to happen, and the fall resulted in the

death of Mr. Pollard after he experienced pain and suffering.

        27.     The employees of the Eugene J. Towbin VA Hospital had a duty to protect Mr.

Pollard from this fall, they breached the duty by allowing it to happen, and the fall resulted in the

death of Mr. Pollard after he experienced pain and suffering.

        28.     The Defendant failed to exercise reasonable care and diligence in the medical care

of Hubert W. Pollard which proximately caused the death of Hubert W. Pollard.

       29.      The Plaintiff herein as exhausted all necessary Administrative claims pursuant to

the Federal Tort Claims Act by filing claims with the Office of Regional Counsel in North Little

Rock and a reconsideration request with Veterans' Affairs General Counsel in Washinton, D.C.
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        30.    The final decision from the General Counsel of the Department of Veterans'

Affairs was issued in August 2012, less than six (6) months prior to the filing of this Complaint

and therefore this Complaint is timely pursuant to the Federal Tort Claims Act. 28 U.S.C. §

2401.

        31.    The Estate of Hubert W. Pollard suffered significant injury, damage, and loss to

the death of Mr. Pollard caused by the negligent and wrongful conduct of the Defendant and

should be awarded the following damages: Mr. Pollard's conscious pain and suffering, both

mental and physical before death; his medical expenses; his funeral and burial expenses; lost

love, care, support, comfort, protection, and assistance; attorney's fees and costs of this suit; and

other reasonable and appropriate economic and non-economic damages as allowed by law.

        32.    The Plaintiff is requesting damages in the amount of $2,000,000.00 for the

wrongful death of Mr. Pollard, the pain and suffering of Mr. Pollard, the additional medical

expenses incurred by Mr. Pollard, the funeral and burial expenses incurred by the Estate, and the

loss of love, care, support, comfort, and protection the heirs of the Estate suffered due to the

negligent and wrongful actions of the Defendant employees by failing to properly care for and

monitor Mr. Pollard while he was in the Defendant's VA facility in North Little Rock, Arkansas.

        33.    The acts and omissions of the Defendant employees would constitute medical

neglect and establish grounds for wrongful death if the Defendant employees had been private

persons and would accordingly be liable for wrongful death based upon these acts and omissions

under the laws of the State of Arkansas.

        WHEREFORE, the Plaintiff, BARBARA GOFF, as Executrix ofthe Estate of Hubert W.

Pollard, respectfully requests this Honorable Court grant her the relief sought herein; for

damages in the amount of $2,000.000.00 based upon the wrongful and negligent conduct of the
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Defendant which resulted in the death of Hubert W. Pollard; for her attorney's fees and costs;

and for any further and proper relief to which she may be entitled, in law or in equity.

                                              Respectfully submitted,
                                              BARBARA GOFF,
                                              Executrix of he Estate of Hubert W. Pollard,
                                                       ·'


                                              By:         · hane thridge (09031)
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